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                                 UNITED STATES DISTRICT COURT
    8
                             CENTRAL DISTRICT OF CALIFORNIA
    9
         JANE DOE                                         Case No.
    10                                                    2:22−cv−02344−MEMF−GJS
                 Plaintiff(s),
    11
                              v.                          CIVIL STANDING ORDER
    12
         JOSEPH DIAZ, JR
    13
                 Defendant(s).
    14
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    18
          PLEASE READ THIS ORDER CAREFULLY. IT GOVERNS THE CASE
    19
              AND DIFFERS IN SOME RESPECTS FROM THE LOCAL RULES.
    20
                Both the Court and all counsel bear responsibility for the progress of litigation
    21
          in this Court. “Counsel,” as used in this Order, includes parties appearing
    22
          pro se.¹ To secure the just, speedy, and inexpensive determination of every action,
    23
          all counsel are ordered to familiarize themselves with the Federal Rules of Civil
    24
          Civil Procedure and the Local Rules of the Central District of California. FED. R.
    25
          CIV. P. 1.
    26
          ____________________
    27
          1   This Court does not exempt parties appearing pro se− that is, parties who are represented by an
    28    attorney− from compliance with the Federal Rules of Civil Procedure or the Local Rules.
          See Local Rules 1-3 and 83-2.2.3.

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    1      UNLESS THE COURT ORDERS OTHERWISE, THE FOLLOWING

    2      RULES APPLY.

    3      I. Service of the Complaint

    4      The Plaintiff shall promptly serve the complaint in accordance with Federal

    5    Rule of Civil Procedure 4 and shall comply with Local Rule 5-3 with respect to

    6    all proofs of service.

    7     II. Presence of Lead Counsel

    8      Lead trial counsel shall attend any proceeding before this Court, including all

    9    Scheduling, Pretrial, and Settlement Conferences.

    10     The Court has a strong commitment to fostering the development of new and

    11   diverse lawyers in the legal community. Consequently, the Court strongly

    12   encourages litigants to provide opportunities for less experienced lawyers or

    13   lawyers whose identities and/or backgrounds further the diversity of the legal

    14   profession to conduct hearings before the Court, particularly where they

    15   contributed significantly to the underlying motion or prepared the witness. Of

    16   course, the ultimate decision of who speaks on behalf of the client is for the client

    17   and not the Court.

    18    III. Invitation to Self-Identify Pronouns and Honorifics

    19     Litigants and counsel may indicate their pronouns and honorifics by filing a

    20   letter, adding the information in the name block or signature line of the pleadings,

    21   or verbally informing the Court when making an appearance.

    22    IV. Scheduling Conference and Rule 26(f) Meeting of Counsel

    23     This court hears status conferences and scheduling conferences on Thursdays,

    24   beginning at 10:00 a.m. Pursuant to Federal Rules of Civil Procedure 16(b) and

    25   26(f), the Court will issue an Order Setting a Scheduling Conference. Counsel shall

    26   meet no later than twenty-one (21) days prior to the court-ordered Scheduling

    27   Conference pursuant to Federal Rule of Civil Procedure 26(f) and applicable Local

    28   Rules. This meeting may occur telephonically and need not occur in person. A


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    1    written exchange of correspondence will not satisfy this requirement.

    2      V. Joint Rule 26(f) Report

    3          Unless otherwise ordered, no later than fourteen (14) days before the

    4    Scheduling Conference, counsel shall file a Joint Rule 26(f) Report. A Joint Rule

    5    26(f) Report which is not timely filed or does not conform with this Order,

    6    Federal Rule of Civil Procedure 26(f), and applicable Local Rules will interfere

    7    with preparation by the Court and its staff and may result in the assessment of

    8    sanctions. The Joint Rule 26(f) Report shall address the matters set forth in

    9    Federal Rule of Civil Procedure 26(f), as well as those enumerated in the Court’s

    10   Order Setting Scheduling Conference.

    11    VI. Discovery

    12         All discovery matters have been referred to a magistrate judge, who will hear

    13   all discovery disputes. The magistrate judge’s initials follow the district judge’s

    14   initials next to the case number. All discovery documents must include the words

    15   “DISCOVERY MATTER” in the caption to ensure proper routing. Please do not

    16   deliver courtesy copies of discovery documents to Judge Frimpong’s chambers.

    17         In accordance with 28 U.S.C. § 636(b)(1)(A), the magistrate judge’s decision

    18   shall be final, and this Court will not reverse any order of the magistrate judge

    19   unless it has been shown that the magistrate judge’s order is clearly erroneous and

    20   contrary to law. Any party may file and serve a motion for review and

    21   reconsideration before this Court. See Local Rule 72-2. The moving party must

    22   file and serve the motion within fourteen (14) days of service of a written ruling

    23   or an oral ruling that the magistrate judge states will not be followed by a written

    24   ruling. The motion must specify which portions of the ruling are clearly erroneous

    25   and contrary to law, and the claim must be supported by points and authorities.

    26   Counsel shall provide the magistrate judge chambers copies of the moving papers

    27   and responses.

    28   \\\


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    1     VII. Motions − General Requirements

    2          A.   Pre-Filing Requirement: Counsel should take note of Local Rule 7-3,

    3    which requires “counsel contemplating filing of any motion” to “first contact

    4    opposing counsel to discuss thoroughly, preferably in person, the substance of the

    5    contemplated motion and any potential resolution.” Counsel should discuss the

    6    issues sufficiently such that if a motion is still necessary, the briefing may be

    7    directed to those substantive issues requiring resolution by the Court. Counsel

    8    should resolve minor procedural or other non-substantive matters during the

    9    conference. The notice of motion or other request must include a statement of

    10   compliance with Local Rule 7-3. The Court may strike or outright deny a motion

    11   or other relief if counsel fails to meet and confer in good faith.

    12         B.   Time for Filing and Hearing Motions: Motions shall be filed in

    13   accordance with Local Rule 7. This Court hears civil motions on Thursdays,

    14   beginning at 10:00 a.m. If Thursday is a national holiday, motions will be heard

    15   on the next Thursday. It is not necessary to clear a hearing date with Judge

    16   Frimpong’s Courtroom Deputy Clerk before filing a motion, except for motions

    17   for summary judgment and preliminary injunction. For these two motions,

    18   contact the Courtroom Deputy Clerk via the Court’s chambers email address at

    19   MEMF_Chambers@cacd.uscourts.gov to reserve a hearing date. For all motions,

    20   if the motion date selected is not available, the Court will issue a minute order

    21   continuing the date. Closed motion dates can be found on Judge Frimpong’s

    22   Procedures and Schedules page.

    23         C.   Length and Format of Motion Papers: Pursuant to Local Rule 11-6,

    24   Memoranda of Points and Authorities in support of or in opposition to motions

    25   shall not exceed twenty-five (25) pages absent leave of Court. Replies shall not

    26   exceed ten (10) pages. Only in rare instances and for good cause shown will the

    27   Court grant an application to extend these page limitations. Pursuant to Local

    28   Rule 11-8, all Memoranda of Points and Authorities exceeding ten (10) pages


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    1    must be accompanied by a Table of Authorities and a Table of Contents. All

    2    briefing must use Times New Roman or Courier font. Text must be no less than

    3    twelve (12) point font; footnotes shall be no less than ten (10) point font.

    4      Counsel shall adhere to Local Rule 5-4.3 with respect to the conversion of all

    5    documents to .pdf format so that when a document is electronically filed, it is in

    6    proper size and is .pdf searchable. Further, all documents shall be filed in a format

    7    so that text can be selected, copied, and pasted directly from the document. See

    8    Local Rule 5-4.3.1.

    9          D.   Citations to Case Law: Citations to case law must identify the case

    10   cited and the specific page referenced. For example, if a quotation is presented,

    11   the associated page citation shall be provided. Similarly, if a case is cited in support

    12   of a proposition based on language in the opinion, the page on which such language

    13   appears shall be provided. Bluebook style is required.

    14         E.   Citations to Other Sources: Statutory references must identify with

    15   specificity the sections and subsections referenced. Citations to treatises, manuals,

    16   and other materials should include the volume, section, and pages being referenced.

    17   Citations to prior filings in the same action shall include the docket entry number,

    18   section, and pages referenced. Bluebook style is required.

    19         F.   Oral Argument: If the Court deems a matter appropriate for decision

    20   without oral argument, the Court will take the matter under submission and

    21   notify the parties before the hearing.

    22   VIII. Motions − Specific Requirements

    23         A.   Motions Pursuant to Federal Rule of Civil Procedure 12: Many

    24   motions to dismiss or strike can be avoided if the parties confer in good faith as

    25   required by Local Rule 7-3, especially for perceived defects in a complaint,

    26   answer, or counterclaim that can be corrected by amendment. See Polich v.

    27   Burlington Northern Inc. 942 F.2d 1467, 1472 (9th Cir. 1991) (noting that where

    28   a motion to dismiss is granted, a district court should grant leave to amend


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    1    unless it is clear the complaint cannot be saved by amendment). Moreover, a

    2    party has the right to amend the complaint “once as a matter of course at any time

    3    before a responsive pleading is served.” FED. R. CIV. P. 15(a). Even after a

    4    complaint has been amended or a responsive pleading has been served, the

    5    Federal Rules of Civil Procedure provide that leave to amend should be “freely

    6    given when justice so requires.” FED. R. CIV. P. 15(a). Indeed, the Ninth Circuit

    7    requires that this policy favoring amendment be applied with “extreme liberality.”

    8    Morongo Band of Mission Indians v. Rose, 893 F.2d 1074, 1079 (9th Cir. 1990).

    9      Consequently, parties should carefully consider and weigh an opponent’s

    10   contentions as to the deficiencies in a pleading. The Court expects that, in most

    11   instances, the parties will agree to any amendment that would cure the defect.

    12         B.   Motions to Amend: In addition to the requirements of Local Rule 15-1,

    13   all motions to amend pleadings shall: (1) state the effect of the amendment; (2)

    14   be serially numbered to differentiate the amendment from previous amendments;

    15   and (3) identify the pages, line numbers, and wording of any proposed change or

    16   addition of material.

    17     Counsel shall electronically file a “Notice of Lodging” attaching the proposed

    18   amended pleading as a document separate from the motion, as well as a “redlined”

    19   version of the proposed amended pleading identifying all additions and deletions

    20   of material as an appendix to the moving papers.

    21         C.   Motions In Limine: Motions in limine shall be noticed for hearing no

    22   later four (4) weeks before the Final Pretrial Conference date.

    23         D.   Motions for Class Certification: If this action is a putative class action,

    24   the parties are to act diligently and begin discovery immediately, so that the motion

    25   for class certification can be filed expeditiously. This Court requires an extended

    26   briefing schedule for motions for class certification. Parties are advised to refer to

    27   the Court’s Order Setting Scheduling Conference for additional guidance as to

    28   filing and timing of motions for class certification.


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    1          E.    Rule 56 Motions: No party may file more than one motion pursuant

    2    to Federal Rule of Civil Procedure 56, regardless of whether such motion is

    3    denominated a motion for summary judgment or summary adjudication, without

    4    leave of the Court. The parties shall not attempt to evade the page limitations

    5    for briefs by filing multiple motions. If a party believes this is one of the rare

    6    instances in which good cause exists for more than one motion for summary

    7    judgment or to increase page limits, the party shall seek leave by noticed motion

    8    setting forth a detailed showing of good cause. Pursuant to Federal Rule of Civil

    9    Procedure 56(f), when appropriate, based on undisputed facts and controlling

    10   principles of law, the Court may sua sponte enter summary judgment in favor of

    11   the non-moving party.

    12     The Court will not entertain cross-motions that seek to adjudicate the

    13   same legal issues. If parties wish to cross-move for summary judgment, their

    14   counsel shall meet and confer to determine which party will move and which

    15   will oppose the one motion for summary judgment.

    16     Parties need not wait until the motion cutoff date to bring motions for

    17   summary judgment or partial summary judgment. The hearing on any such

    18   motion shall be set for a date in advance of the Final Pretrial Conference.

    19   This Court requires an extended briefing schedule for motions for summary

    20   judgment, as set forth below:

    21         •    Motions for Summary Judgment: Must be filed at least forty-two (42)

    22              days before the noticed hearing date.

    23         •    Opposition: Must be filed twenty-eight (28) days before the noticed

    24              hearing date and fourteen (14) days after the motion is filed.

    25         •    Reply: Must be filed twenty-one (21) days before the noticed hearing

    26              date and seven (7 ) days after the opposition is filed.

    27     The above briefing schedule is the default. The parties may stipulate to a

    28   modified schedule that is reasonable for all parties. Any briefing schedule must


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    1    provide the Court at least twenty-one (21) days between the reply deadline and

    2    the hearing date.

    3      The parties should prepare papers in a fashion that will assist the Court in

    4    processing and analyzing the volume of material (e.g., tables of contents, headings,

    5    indices, bookmarks in electronic documents, pinpoint citations, etc.). Additionally,

    6    for motions for summary judgment only, parties should submit two paper copies

    7    of all Motion for Summary Judgment filings to Judge Frimpong’s mailbox on the

    8    Fourth Floor of the First Street Courtthouse. Pro Se parties are exempt from this

    9    requirement. The parties shall comply with Local Rules 56-1 and 56-2 in addition

    10   to the Court’s additional requirements described below.

    11               1. Statements of Uncontroverted Facts and Genuine Disputes

    12     The separate statement of uncontroverted facts required under Local Rule 56-1

    13   shall be prepared in a two-column table, as shown below. The left column sets

    14   forth the allegedly undisputed fact. The right column sets forth the evidence that

    15   supports the factual statement. The factual statements should be set forth in

    16   sequentially numbered paragraphs. Each paragraph should contain a narrowly

    17   focused statement of fact. Each numbered paragraph should address a single subject

    18   as concisely as possible. The “Conclusions of Law” portion of the statement should

    19   be inserted after the statement of uncontroverted facts.

    20   Plaintiff’s Claim for ____ Is Barred by the Applicable Statute of Limitations.

    21    Undisputed Fact                            Evidence
          1. Mike and Jane signed a contract for     Smith Decl. (Dkt. No. 61-2) ¶ 5, Ex. 6.
    22    the sale and purchase of property.
    23
          2. Jane mailed the contract in May
                                                     Smith Decl. ¶ 8, Ex. 21.
    24    2017.

    25     The opposing party’s statement of genuine disputes of material fact must be in

    26   two columns and track the moving party’s separate statement exactly as prepared.

    27   The left column must restate the allegedly undisputed fact and the right column

    28   must state either that it is undisputed or disputed. The opposing party may dispute


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    1    all or only a portion of the statement, but if disputing only a portion, it must clearly

    2    indicate what portion is being disputed, followed by a brief citation to the opposing

    3    party’s evidence controverting the fact. To demonstrate that a fact is disputed, the

    4    opposing party must briefly state why it disputes the moving party’s asserted fact,

    5    cite to the relevant exhibit or other evidence, and describe the the reason(s)

    6    the exhibit or evidence refutes the asserted fact. No legal argument should be set

    7    forth in this document.

    8
          Undisputed Fact and Evidence                  Disputed/Undisputed and Evidence
    9     1. Mike and Jane signed a contract for        Disputed. Jane testified that the
          the sale and purchase of property.            contract was for a lease, not a
    10    Smith Decl. (Dkt. No. 61-2) ¶ 5, Ex. 6.       purchase. Jane Depo
                                                        (Smith Decl. Ex. 4) 29:4-16.
    11
    12    2. Jane mailed the contract in May            Disputed as to date. Jane testified she
          2017.                                         mailed the contract in June 2017.
    13    Smith Decl. ¶ 8, Ex. 21.                      Jane Depo. at 3:4-10.
    14
    15     The opposing party may submit additional material facts that bear on or relate

    16   to the issues raised by the moving party, which shall follow the format described

    17   above for the moving party’s separate statement. These additional facts shall

    18   continue in sequentially numbered paragraphs with the evidence that supports each

    19   statement set forth in the right column.

    20     With its reply, the moving party shall file a response to the statement of

    21   genuine disputes of material fact and additional material facts. For each fact, the

    22   response shall restate the allegedly undisputed fact and state whether the fact is

    23   disputed or undisputed by the opposing party. If the fact is undisputed, no further

    24   response is required.

    25     If the fact is disputed, the response shall restate the opposing party’s evidence

    26   and reason for disputing the asserted fact. The moving party may provide a

    27   response to the opposing party’s reason for dispute, including any reason why

    28   the evidence cited by the opposing party does not create a genuine dispute and/or


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     1    any additional evidence relevant to the asserted fact. This response may either be

     2    presented in three columns, with the response appearing in the right column, or in

     3    two columns, with a response provided below each fact.

     4          The response may also include any response to additional material facts asserted

     5    by the non-moving party, and this response shall follow the format described

     6    above for the statement of genuine disputes of material fact. The response to these

     7    additional facts shall continue in sequentially numbered paragraphs and shall not

     8    restart the numbering.

     9          All facts asserted by either party, whether disputed or undisputed, and all

     10   supporting evidence cited, shall be included in the response. Do not repeat

     11   descriptions of and citations to the evidence. If you have already described and

     12   cited the evidence once, simply refer to the earlier citation succinctly (e.g., “See

     13   supra, Fact # 1”).

     14                   2.   Supporting Evidence

     15         No party shall submit evidence other than the specific items of evidence or

     16   testimony necessary to support or controvert a proposed statement of undisputed

     17   fact. For example, entire deposition transcripts, entire sets of interrogatory

     18   responses, and documents that do not specifically support or controvert material

     19   in the separate statement shall not be submitted in support of or in opposition to

     20   a motion for summary judgment.

     21         Evidence submitted in support of or in opposition to a motion for summary

     22   judgment should be submitted either by way of stipulation or as exhibits to

     23   declarations sufficient to authenticate the proffered evidence and should not be

     24   attached to the memorandum of points and authorities. Documentary evidence

     25   for which there is no stipulation regarding foundation must be accompanied by

     26   the testimony, either by declaration or properly authenticated deposition transcript,

     27   of a witness who can establish authenticity.

     28   \\\


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     1                  3. Objections to Evidence

     2      If a party disputes a fact based in whole or in part on an evidentiary objection,

     3    the ground for the objection should be stated succinctly in a separate statement of

     4    evidentiary objections in a two column format. The left column should identify the

     5    items objected to (including page and line number if applicable) and the right

     6    column should set forth a concise objection (e.g., hearsay, lack of foundation, etc.)

     7    with a citation to the Federal Rules of Evidence or, where applicable, a case

     8    citation. A proposed order shall be filed and attached to the evidentiary objections

     9    as a separate Word document consistent with Local Rule 52-4.1 and emailed

     10   directly to the Court’s chambers email address at

     11   MEMF_Chambers@cacd.uscourts.gov.

     12           F.   Motions for Attorneys’ Fees: Motions for attorneys’ fees shall be

     13   electronically filed and set for hearing according to Local Rule 6-1 and this

     14   Order. Any motion or request for attorneys’ fees shall attach two summaries, in

     15   table form, of the hours worked by and billing rate of each attorney with title

     16   (e.g., partner, counsel, associate, etc.).

     17     The first table shall include a summary of the hours worked by each attorney,

     18   organized by task (e.g., discovery, motion to dismiss, motion for summary

     19   judgment). The second table shall include a summary of the hours worked by

     20   each attorney, organized by attorney. Both tables shall list all the tasks on which

     21   the attorney worked, the hours worked on each task, and the hourly rate of each

     22   attorney. If the hourly rate charged by any individual attorney changed while the

     23   action was ongoing, the party shall provide separate calculations for the total

     24   number of hours the attorney spent in connection with each task at each hourly

     25   rate.

     26     All tables shall be attached to the motion and electronically filed. The courtesy

     27   copies of the tables shall be prepared in Excel, have all restrictions removed so

     28   the spreadsheets can be edited, and be emailed to the Court’s chambers email


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     1    address at MEMF_Chambers@cacd.uscourts.gov.

     2          G. Under Seal Filings: Local Rule 79-5 governs applications to file

     3    documents under seal. Local Rule 79-5.2.2 explains how to apply to file under

     4    seal and how to proceed if leave is granted. Parties must comply with all

     5    provisions of Local Rule 79-5.

     6      There is a strong presumption of access in civil actions. Foltz v. State Farm

     7    Mut. Auto. Ins. Co., 331 F.3d 1122, 1135 (9th Cir. 2003). For each document or

     8    other type of information a party seeks to file under seal, the party must identify

     9    and discuss the factual and/or legal justification that establishes “good cause” or

     10   “compelling reasons” for the information to be protected. Kamakana v. City and

     11   Cnty. of Honolulu, 447 F.3d 1172, 1178−80 (9th Cir. 2006).

     12     Documents that are not confidential or privileged in their entirety should not

     13   be filed under seal if the confidential portions can be redacted and filed separately

     14   with a reasonable amount of effort. The parties should file a complete version of

     15   the documents under seal and a redacted version for public viewing, omitting only

     16   the portions that the Court has authorized to be filed under seal.

     17     Sealing must be justified for each individual item−blanket claims of

     18   confidentiality will result in the application to seal being denied. Counsel are

     19   strongly encouraged to consider carefully whether sealing or redaction is absolutely

     20   required for a given piece of evidence or argument. An application to seal that

     21   includes meritless requests to seal or redact documents will be denied. The parties

     22   also must meet and confer before filing an application to seal.

     23    IX. Proposed Orders

     24     Each party filing or opposing a motion or seeking the determination of any

     25   matter shall serve and electronically lodge a proposed order setting forth the relief

     26   or action sought and a brief statement of the rationale for the decision with

     27   appropriate citations. In addition, a copy of the proposed order in Word format

     28   shall be emailed directly to the Court’s chambers email address at


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     1    MEMF_Chambers@cacd.uscourts.gov on the day the document is electronically

     2    filed.

     3         A template for proposed orders is available on Judge Frimpong’s webpage.²

     4    The parties must use this template. Failure to submit a proposed order in Word

     5    format may result in the Court striking the motion, application, or stipulation

     6    without consideration of the request on its merits.

     7        X. Chambers Courtesy Copies

     8         The Court does not require chambers copies of any motion papers or exhibits

     9    and discourages the parties from sending chambers courtesy copies, with the

     10   exception of documents related to motions for summary judgment (see supra

     11   Section VIII.E). Excel files prepared in support of motions for attorneys’ fees

     12   (see supra Section VIII.F) and proposed orders in Word format (see supra

     13   Section IX) should be submitted to the Court’s chambers email address at

     14   MEMF_Chambers@cacd.uscourts.gov.

     15       XI. Ex Parte Applications

     16   Counsel are reminded that ex parte applications are solely for extraordinary

     17   relief. Applications that do not meet the requirements set forth in Local Rule 7-19

     18   will not be considered. Sanctions may be imposed for misuse of ex parte

     19   applications. The Court considers ex parte applications on the papers and usually

     20   does not set these matters for hearing.

     21   XII. Continuances

     22        Counsel requesting a continuance must lodge, prior to the date to be continued,

     23   a proposed stipulation and order including a detailed declaration of the grounds for

     24   the requested continuance or extension of time. The Court grants continuances only

     25   upon a showing of good cause, focusing on the diligence of the party seeking the

     26   continuance and any prejudice that may result if the continuance is denied.

     27   ____________________
          2   Judge Frimpong’s webpage can be found at https://www.cacd.uscourts.gov/honorable-maame-
     28
              ewusi-mensah-frimpong.


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     1    Counsel are required to first meet and confer with opposing counsel regarding the

     2    substance of the continuance and include a statement of compliance with Local

     3    Rule 7-3 (see supra Section VII.A). Failure to meet and confer in good faith in

     4    compliance with the Local Rules and this Order may result in denial of the

     5    request for continuance.

     6    XIII. Electronic Filings

     7      Counsel shall e-file all civil and criminal filings pursuant to Federal Rules of

     8    Civil Procedure 5(d)(3) and Local Rule 5-4 as follows:

     9      • All non-signature items shall be e-filed in PDF format. All proposed

     10        signature items shall be e-filed as an attachment to the main document

     11        in PDF format.

     12     • All proposed signature items shall be emailed to the courtroom deputy email

     13        MEMF_Chambers@cacd.uscourts.gov in Word format. Only proposed

     14        order signature items should be emailed to the chambers’ email

     15        address. Do not email other associated documents and do not use this

     16        email address for communication with the Court or the Clerk.

     17     Note for Parties Who Do Not Have an Attorney: Pro se litigants−that is,

     18   parties who are not represented by an attorney−may submit documents for filing

     19   through the Court’s Electronic Document Submission System (EDSS) instead

     20   of mailing or bringing documents to the Clerk’s Office. Only internet access and

     21   an email address are required. Documents are submitted in PDF format through an

     22   online portal on the Court’s website. To access EDSS and for additional

     23   information, visit the https://apps.cacd.uscourts.gov/edss.

     24   XIV. Communications with Chambers

     25     Counsel must not attempt to contact the Court or chambers staff by email,

     26   telephone, or by any other ex parte means. Counsel may, for appropriate matters

     27   only, contact the Courtroom Deputy via the Court’s chambers email at

     28   MEMF_Chambers@cacd.uscourts.gov. Counsel must not contact the


                                                  14
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     1    Courtroom Deputy regarding the status of any matter before the Court. Calls or

     2    emails regarding the status of submitted motions, stipulations, or proposed orders

     3    will not be returned. Counsel may determine the status of any submitted motion,

     4    stipulation, or proposed order by accessing the docket sheet through PACER,

     5    which can be accessed via the Central District of California website. Counsel

     6    must include on all papers their email address, telephone number, and fax number

     7    to facilitate communication with the Courtroom Deputy.

     8    XV. Courtroom Decorum

     9        The Court expects everyone in her courtroom to treat each other with dignity and

     10   respect. Therefore, at a minimum, she expects the following from all³:

     11          •   Being punctual and prepared for all court appearances.

     12          •   Speaking and writing civilly and respectfully in all communications

     13               involving the Court. This includes:

     14                    Referring to and addressing witnesses, counsel, parties, and court

     15                    personnel by their surnames, pronouns, and honorifics, unless leave

     16                    to do otherwise is granted.

     17                    Refraining from interrupting any other person in the courtroom when

     18                    someone else is speaking. The same courtesy will be returned for

     19                    every person.

     20                    Refraining from making gestures, facial expressions, or audible

     21                    comments as manifestations of approval or disapproval of

     22                    testimony or argument.

     23          •   Being considerate of the time constraints and pressures on the Court

     24               and court staff inherent in their efforts to administer justice.

     25          •   Acting and speaking civilly to court marshals, court clerks, court

     26
          ______________________
     27   3For more detailed guidance, counsel are advised to refer to the Central District of California’s
     28   Civility and Professionalism Guidelines, which can be found at
          http://www.cacd.uscourts.gov/attorneys/admissions/civility-and-professionalism-guidelines.


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     1                reporters, secretaries, and law clerks with an awareness that they, too,

     2                are an integral part of the judicial system.

     3    XVI. Guidance for Pro Se Litigants

     4      Parties who represent themselves in civil litigation (i.e., appear pro se), should

     5    be aware that the Court holds these parties to the same standards of conduct to

     6    which it holds attorneys.

     7      The following links may be helpful to those representing themselves in civil

     8    matters:

     9          •    General information on how parties may represent themselves in civil

     10               cases in the Central District of California can be found at

     11               https://prose.cacd.uscourts.gov/.

     12         •    Local Civil Rules for the Central District of California can be found at

     13               http://http://www.cacd.uscourts.gov/court-procedures/local-rules

     14         •    Federal Rules of Civil Procedure can be found at

     15               https://www.law.cornell.edu/rules/frcp.

     16   XVII. Additional Information

     17              A. Interpreter Services

     18     Counsel in civil actions are responsible for arranging for the services of an

     19   interpreter. The Interpreter’s Office may be reached at (213) 894-4599.

     20   XVIII. Notice of This Order

     21     Counsel for Plaintiff shall immediately serve this Order on all parties,

     22   including any new parties to the action. If this case came to the Court by

     23   noticed removal, the Defendant shall serve this Order on all other parties.

     24   IT SO ORDERED
     25
     26 Dated: July 11, 2022
     27                                                   MAAME EWUSI-MENSAH FRIMPONG

                                                                United States District Judge
     28


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